                        UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE


Sarah Beth Cain
                                              Plaintiff,
v.                                                          Case No.: 2:17−cv−00055

Tennessee Technological University, et al.
                                              Defendant,

                               ENTRY OF JUDGMENT

        Judgment is hereby entered for purposes of Rule 58(a) and/or Rule 79(a) of the
Federal Rules of Civil Procedure on 9/18/2019 re [56].


                                                                          Kirk L. Davies
                                                       s/ Dalaina Thompson, Deputy Clerk




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